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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION and                      Case No. 1:17-cv-00124-LLS

THE PEOPLE OF THE STATE OF NEW
YORK, by LETITIA JAMES,
Attorney General of the State of New York,

                   Plaintiffs,

                   v.

QUINCY BIOSCIENCE HOLDING
COMPANY, INC., a corporation;

QUINCY BIOSCIENCE, LLC, a limited
liability company;

PREVAGEN, INC., a corporation
d/b/a SUGAR RIVER SUPPLEMENTS;

QUINCY BIOSCIENCE
MANUFACTURING, LLC, a limited liability
company;

MARK UNDERWOOD, individually and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN, INC.;
and

MICHAEL BEAMAN, individually and as an
officer of QUINCY BIOSCIENCE HOLDING
COMPANY, INC., QUINCY BIOSCIENCE,
LLC, and PREVAGEN, INC.,

                   Defendants.



         DEFENDANT MARK UNDERWOOD’S OPPOSITION TO PLAINTIFFS’
                MOTION TO STRIKE AFFIRMATIVE DEFENSES

        Defendant Mark Underwood (“Underwood”) adopts and incorporates by reference, as if

fully set forth herein, the arguments by the Quincy Defendants in opposition to Plaintiffs’ Motion



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to Strike Affirmative Defenses. Underwood files this brief to highlight that Plaintiffs’ motion

seeks relief that will not streamline this case nor afford them any real relief. The challenged

affirmative defenses are proper and, in any event, would not change the scope or nature of

discovery in this case. Plaintiffs’ Motion is simply a waste of the parties’ and the Court’s time and

resources, and the Court should deny the relief they seek.

                                           ARGUMENT

       In GEOMC Co. v. Calmare Therapeutics Inc., 918 F.3d 92 (2d Cir. 2019), the Second

Circuit created a relaxed plausibility standard for affirmative defenses, explaining that “applying

the plausibility standard to any pleading is a ‘context-specific’ task.” Id. at 98. As GEOMC

recognized, courts must distinguish between plausibility of allegations in a complaint as opposed

to an affirmative defense. This distinction “is relevant to the degree of rigor appropriate for testing

the pleading of an affirmative defense.” Id. Applying the appropriate “degree of rigor” to

Defendant Underwood’s affirmative defenses requires denials of Plaintiffs’ Motion.

       A. Defenses Plaintiffs Claim Are Legally Available

       Defendant Underwood adopts and incorporates the arguments set forth in the Quincy

Defendants’ Opposition detailing why the “good faith,” “First Amendment,” and “primary

jurisdiction” affirmative defenses should not be struck.

       Defendant Underwood’s Third Affirmative Defenses (laches and waiver) should also be

preserved. Plaintiffs argue that the Third Affirmative Defense should be stricken as legally

unavailable because “generally” (in Plaintiffs’ own words), these defenses may not be asserted in

an action brought by a government agency in the public’s interest. But this is simply not a reason

to strike the affirmative defense.

       As an initial matter, courts in this Circuit have made clear that requests to strike affirmative

defenses for legal insufficiency are “not favored.” City of New York v. FedEx Ground Package

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System, Inc., 2017 WL 633445, at *2 (S.D.N.Y. Feb. 14, 2017) (quoting Salcer v. Envicon Equities

Corp., 744 F.2d 935, 939 (2d Cir.1985), vacated on other grounds, 478 U.S. 1015 (1986)).

       And, in any event, such a motion “will not be granted unless it appears to a certainty that

plaintiffs would succeed despite any state of the facts which could be proved in support of the

defense.” Id. (emphasis added) (quoting same). But Plaintiffs’ own argument makes clear that this

burden cannot be met. Plaintiffs only argue that the defense is “generally” unavailable. Indeed,

the law regarding applicability of a laches defense to a government actor is unsettled. See, e.g.,

Equal Employment Opportunity Comm’n v. United Parcel Service, 2017 WL 2829513, at *12

(E.D.N.Y. 2017) (declining to strike the affirmative defense of waiver and/or estoppel because

“the law as to the applicability of equitable defenses to government agencies is not as settled as

Plaintiff suggests, and ‘even when the defense presents a purely legal question, the courts are very

reluctant to determine disputed or substantial issues of law on a motion to strike’”) (internal

quotations omitted); see also Equal Employment Opportunity Comm’n v. Frontier Hot-Dip

Galvanizing, Inc., 2019 WL 2205045, at *3 (W.D.N.Y. May 22, 2019) (adopting magistrate’s

report and recommendation to deny affirmative defense of waiver on the grounds that the “case

law does not ‘stand for the sweeping proposition that there is no set of facts pursuant to which an

equitable defense might be asserted against a governmental entity.’”) (internal quotations omitted).

       Given that uncertainty, there is no basis to strike the Third Affirmative Defense.

       B. Defendants May Reserve the Right to Raise Additional Affirmative Defenses

       Plaintiffs are simply wrong in arguing that Defendant Underwood cannot reserve the right

to raise additional affirmative defenses. Courts in this district and in this Circuit usually allow

such a reservation of rights. See, e.g., Wachovia Bank Nat. Ass'n v. EnCap Golf Holdings, LLC,

690 F. Supp. 2d 311, 330 (S.D.N.Y. 2010) (finding that certain defenses could have arguably been

preserved by a reservation of rights affirmative defense giving notice of an intention to “rely upon
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any additional affirmative defense that becomes available or apparent during discovery and/or

litigation of this Complaint”); Cattaraugus Cty. Project Head Start v. Exec. Risk Indem., Inc., 2000

WL 1737943, at *3 (W.D.N.Y. Nov. 9, 2000) (denying motion to strike “reservation of rights”

affirmative defense: “regardless of whether or not such is proper—it cannot be said that [Plaintiff]

is somehow prejudiced by its inclusion, as no action in response to such is required. Insofar as

one of the required elements to succeed on a motion to strike an affirmative defense is that the

plaintiff would suffer prejudice from the inclusion of the defense and as this element has not been

established, the motion to strike [this] affirmative defense will be denied”).

        C. Defenses Already Adjudicated Should Be Preserved For Appeal

        Plaintiffs seek to strike Defendant Underwood’s First, Fifth, Sixth, and Fifteenth

Affirmative Defenses on the grounds that they were already adjudicated. In addition to the

arguments raised by the Quincy Defendants, which Defendant Underwood adopts and incorporates

as if fully set forth herein, Defendant Underwood requests to preserve these Affirmative Defenses

for purposes of appeal.

        D. There Has Been No Prejudice

        Most importantly, Plaintiffs cannot explain why they would be prejudiced by the inclusion

of these affirmative defenses at this stage of the litigation, given that they had sufficient notice and

can conduct discovery appropriately.        Whether prejudice should be a basis for dismissing

otherwise valid affirmative defenses normally depends on when the defense is presented because

“[a] factually sufficient and legally valid defense should always be allowed if timely filed even if

it will prejudice the plaintiff by expanding the scope of the litigation.” GEOMC, 918 F.3d at 98.

“[P]rejudice may be considered…where a defense is presented beyond the normal time limits of

the Rules. Id. Here, Plaintiffs do not dispute that these affirmative defenses were timely asserted.

The Court has just finished ruling on Defendants’ Rule 12(b)(6) motions, and discovery is only

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now beginning. The challenged Affirmative Defenses do not change the scope of discovery, and

therefore will not increase the time or expense of trial, and there is no risk of unfair surprise as

when affirmative defenses are added by motion later in a litigation. Plaintiffs have failed to

meaningfully show that they would be prejudiced by the challenged Affirmative Defenses.

                                         CONCLUSION

       For the reasons set forth herein, and in the Quincy Defendants’ Opposition, Defendant

Underwood respectfully requests that the Court deny Plaintiffs’ Motion to Strike Affirmative

Defenses in its entirety.

Dated: New York, NY
       September 30, 2019


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